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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


In re:                                                  Chapter 11

WOODBRIDGE GROUP OF COMPANIES,                          Case No. 17-12560 (KJC)
LLC, et al.,
                                                        Jointly Administered
                    Debtors.


                      ORDER SCHEDULING OMNIBUS HEARING DATES

         Pursuant to Del. Bankr. L.R. 2002-1(a), the Court has scheduled the following omnibus

hearing dates in the above-captioned proceedings:


                March 28, 2018 at 9:00 a.m. (ET)

                April 5, 2018 at 11:00 a.m. (ET)

                May 1, 2018 at 11:00 a.m. (ET)

                June 5, 2018 at 11:00 a.m. (ET)




         Dated: February 26th, 2018
         Wilmington, Delaware

                                                    KEVIN J. CAREY
                                                    UNITED STATES BANKRUPTCY JUDGE
